              Case 15-09539                    Doc 1246          Filed 07/28/22 Entered 07/28/22 08:35:30                                    Desc      Page
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                                         Individual Estate Property Record and Report                                                                   Page: 1-1

                                                          Asset Cases
Case No.:    15-09539                                                                        Trustee Name:      (330623) Michael Desmond
Case Name:        YELLOW CAB AFFILIATION, INC.                                               Date Filed (f) or Converted (c): 11/16/2016 (c)
                                                                                             § 341(a) Meeting Date:       01/19/2017
For Period Ending:        06/30/2022                                                         Claims Bar Date:      11/06/2017

                                     1                               2                      3                      4                    5                    6

                           Asset Description                      Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)        Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                   Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                  Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                             and Other Costs)

    1       MB Financial Bank                                      22,916.93                         0.00                                     0.00                        FA
            Bank Account closed during Chapter 11 Case.

   2*       Interest in Insurance Policies - See                           0.00                      0.00                                     0.00                        FA
            attached schedule (See Footnote)

    3       X General Membership Dues -                           888,497.00                 888,497.00                             241,025.00                            FA
            $571,426.01 Past Membership Dues of
            Approximate Amount of

    4       Member Security Deposits                             1,755,264.23                591,923.84                                       0.00           591,923.84

   5*       Equipment and Data Terminals (See                      50,000.00                    50,000.00                               5,000.00                          FA
            Footnote)

   6*       VOID (See Footnote)                                           VOID                      VOID         VOID                        VOID                   VOID

   7*       Refund of Unemployment Insurance Tax                           0.00                      0.00                               6,853.40                          FA
            (u) (See Footnote)

    8       Refund from ADP-unscheduled Post                             472.35                   472.35                                    472.35                        FA
            Filing (u)

    9       BANK ACCOUNTS DIP Account Private                      85,042.05                    57,864.20                              57,864.20                          FA
            Bank (u)
            Unscheduled value based amount reported on Ch. 11
            Final Report [Dkt. 1080]

  10*       Turnover Adversary (u) (See Footnote)                          0.00              500,000.00                             400,000.00               100,000.00

  11*       Promissory Note from Transit                                   0.00              324,590.72                                57,255.28             267,335.44
            Administrative Center, Inc (u) (See
            Footnote)

  11        Assets Totals (Excluding unknown values)            $2,802,192.56             $2,413,348.11                           $768,470.23              $959,259.28


        RE PROP# 2            Debtor's Schedule B-personal property attaches a supplemental schedule to Item No. 9-Interest of All Insurance Policies.
                              The Supplement lists 29 insurance policies of which 4 policies, with a value of $751,750, were secured by a letter of credit
                              ("LOC") or cash deposit. The remaining 25 insurance policies were listed with a value of $0. Debtor's Chapter 11 final report
                              {Dkt. 1080] indicates that the 4 - LOC or cash deposit insurance policies were disposed of during the Chapter 11
                              proceeding.
        RE PROP# 5            Debtor's Chapter 11 final report [Dkt. 1080] indicates that the Debtor's pre-paid expenses were disposed of during the
                              Chapter 11 proceedings.
        RE PROP# 6            Debtor's Chapter 11 final report [Dkt. 1080] indicates that the Debtor's pre-paid expenses were disposed of during the
                              Chapter 11 proceedings.
        RE PROP# 7            Refund from Dept. of Employment Security

        RE PROP# 10           Adversary seeking Turnover of estate assets.

        RE PROP# 11           Note Assigned to Trustee pursuant to Settlement Approved by Bankruptcy Court [Dkt No. 1198]
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                                    Individual Estate Property Record and Report                                                    Page: 1-2

                                                     Asset Cases
Case No.:   15-09539                                                           Trustee Name:      (330623) Michael Desmond
Case Name:     YELLOW CAB AFFILIATION, INC.                                    Date Filed (f) or Converted (c): 11/16/2016 (c)
                                                                               § 341(a) Meeting Date:    01/19/2017
For Period Ending:     06/30/2022                                              Claims Bar Date:    11/06/2017


Major Activities Affecting Case Closing:

                            June 30, 2022: Trustee retained Special Counsel to pursue D&O action and Fraudulent Transfer Adversary
                            in the United States District Court. Fact discovery has closed and Expert Discovery is scheduled to close on
                            July 24, 2022. The parties have exchanged settlement proposals, however as of this date there is no
                            agreement.

                            June 30, 2021. District Court complaint pending. Oral discovery is in process.

                            June 30, 2020 District Court complaint still pending. Discovery is ongoing.

                            June 30, 2019: Pursuant to order 5/1/19 [Dkt. 1198], Trustee settled the adversary complaint for turnover.
                            Defendant's Motion to Dismiss the Trustee's District Court complaint to avoid fraudulent transfers and other
                            relief was denied. Parties are engaged in discovery.

                            2018: On March 27, 2017, Trustee filed adversary complaint for turnover of estate assets against Taxi
                            Affiliation Services LLC. Parties currently conducting discovery. On November 16, 2017, Trustee filed
                            complaint in District Court seeking to avoid fraudulent transfers and other relief. Defendant has filed motion
                            to dismiss which remains pending.

Initial Projected Date Of Final Report (TFR): 12/31/2019              Current Projected Date Of Final Report (TFR):    06/30/2023


                     07/28/2022                                                    /s/Michael Desmond
                        Date                                                       Michael Desmond
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                                               Cash Receipts And Disbursements Record
Case No.:              15-09539                                      Trustee Name:                       Michael Desmond (330623)
Case Name:             YELLOW CAB AFFILIATION, INC.                  Bank Name:                          Mechanics Bank
Taxpayer ID #:         **-***6889                                    Account #:                          ******0200 Checking
For Period Ending:     06/30/2022                                    Blanket Bond (per case limit):      $5,000,000.00
                                                                     Separate Bond (if applicable):      N/A

    1            2                      3                                    4                                  5                       6                    7

  Trans.    Check or       Paid To / Received From       Description of Transaction        Uniform         Deposit                Disbursement        Account Balance
   Date      Ref. #                                                                       Tran. Code         $                          $

 01/03/17     {7}      Illinois Dept of Employment   Refund Check from Dept. of            1224-000                 6,853.40                                      6,853.40
                       Security                      Employment Security
 01/31/17              Rabobank, N.A.                Bank and Technology Services          2600-000                                          10.00                6,843.40
                                                     Fees
 02/24/17     {8}      Automatic Data Processing     Refund from ADP - unscheduled         1290-000                  472.35                                       7,315.75
                                                     post-filing
 02/28/17              Rabobank, N.A.                Bank and Technology Services          2600-000                                          10.00                7,305.75
                                                     Fees
 03/06/17     {9}      The Private Bank              Transfer of DIP bank acct funds       1229-000             57,864.20                                        65,169.95
                                                     from The Private Bank to Estate
                                                     Acct.
 03/31/17              Rabobank, N.A.                Bank and Technology Services          2600-000                                          77.43               65,092.52
                                                     Fees
 04/28/17              Rabobank, N.A.                Bank and Technology Services          2600-000                                          87.38               65,005.14
                                                     Fees
 05/31/17              Rabobank, N.A.                Bank and Technology Services          2600-000                                         102.84               64,902.30
                                                     Fees
 06/30/17              Rabobank, N.A.                Bank and Technology Services          2600-000                                          93.35               64,808.95
                                                     Fees
 07/31/17              Rabobank, N.A.                Bank and Technology Services          2600-000                                          90.10               64,718.85
                                                     Fees
 08/31/17     {3}                                    Proceeds on payoff of Mortgage        1129-000            241,025.00                                    305,743.85
                                                     Lien Securing A/R
 08/31/17              Rabobank, N.A.                Bank and Technology Services          2600-000                                         102.40           305,641.45
                                                     Fees
 09/29/17              Rabobank, N.A.                Bank and Technology Services          2600-000                                         424.96           305,216.49
                                                     Fees
 10/31/17              Rabobank, N.A.                Bank and Technology Services          2600-000                                         468.27           304,748.22
                                                     Fees
 11/30/17              Rabobank, N.A.                Bank and Technology Services          2600-000                                         438.33           304,309.89
                                                     Fees
 12/29/17              Rabobank, N.A.                Bank and Technology Services          2600-000                                         423.11           303,886.78
                                                     Fees
 01/31/18              Rabobank, N.A.                Bank and Technology Services          2600-000                                         480.80           303,405.98
                                                     Fees
 02/28/18              Rabobank, N.A.                Bank and Technology Services          2600-000                                         407.31           302,998.67
                                                     Fees
 03/30/18              Rabobank, N.A.                Bank and Technology Services          2600-000                                         435.81           302,562.86
                                                     Fees
 04/30/18              Rabobank, N.A.                Bank and Technology Services          2600-000                                         420.68           302,142.18
                                                     Fees
 05/31/18              Rabobank, N.A.                Bank and Technology Services          2600-000                                         478.08           301,664.10
                                                     Fees
 06/29/18              Rabobank, N.A.                Bank and Technology Services          2600-000                                         419.43           301,244.67
                                                     Fees
 07/31/18              Rabobank, N.A.                Bank and Technology Services          2600-000                                         462.18           300,782.49
                                                     Fees
 08/31/18              Rabobank, N.A.                Bank and Technology Services          2600-000                                         447.05           300,335.44
                                                     Fees
 09/28/18              Rabobank, N.A.                Bank and Technology Services          2600-000                                         230.39           300,105.05
                                                     Fees
 10/31/18              Rabobank, N.A.                Bank and Technology Services          2600-000                                         271.32           299,833.73
                                                     Fees

                                                                                       Page Subtotals:    $306,214.95                 $6,381.22




{ } Asset Reference(s)                                                                                                         ! - transaction has not been cleared
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                                                 Cash Receipts And Disbursements Record
Case No.:              15-09539                                             Trustee Name:                        Michael Desmond (330623)
Case Name:             YELLOW CAB AFFILIATION, INC.                         Bank Name:                           Mechanics Bank
Taxpayer ID #:         **-***6889                                           Account #:                           ******0200 Checking
For Period Ending:     06/30/2022                                           Blanket Bond (per case limit):       $5,000,000.00
                                                                            Separate Bond (if applicable):       N/A

    1            2                      3                                            4                                  5                       6                      7

  Trans.    Check or        Paid To / Received From             Description of Transaction          Uniform        Deposit                Disbursement          Account Balance
   Date      Ref. #                                                                                Tran. Code        $                          $

 12/07/18     101      Figliulo & Silverman PC              Fees allowed per order dated           3110-000                                    165,109.50              134,724.23
                                                            12/6/2018 Dkt. No. 1188].
 12/07/18     102      Figliulo & Silverman PC              Expenses allowed per order dated       3120-000                                         1,036.68           133,687.55
                                                            12/6/2018 [Dkt.No. 1188]
 02/28/19     103      International Sureties, Ltd.         2019-2020 Premium - Blanket            2300-000                                           43.14            133,644.41
                                                            Bond 016073584
 05/02/19     {10}                                          MOLO LAMKEN LLPMIC                     1249-000            400,000.00                                      533,644.41
                                                            20190502MMQFMPCM00 0034
 06/05/19     {11}     Transit Administrative Center, Inc   Payment on Promissory Note             1249-000                 1,974.32                                   535,618.73
                                                            Dated 1/1/2017
 07/11/19     {11}     Transit Administrative Center, Inc   Payment on Promissory Note             1249-000                 1,974.32                                   537,593.05
                                                            Dated 1/1/2017
 08/02/19     {11}     Transit Administrative Center, Inc   Payment on Promissory Note             1249-000                 1,974.32                                   539,567.37
 09/03/19     {11}     Transit Administrative Center, Inc   Installment Payment on                 1249-000                 1,974.32                                   541,541.69
                                                            Promissory Note
 09/26/19     {11}     Transit Administrative Center, Inc   Payment of Promissory Note             1249-000                 1,974.32                                   543,516.01
 11/13/19     {11}     Transit Administrative Center, Inc   Payment of Promissory Note             1249-000                 1,974.32                                   545,490.33
 12/05/19     {11}     Transit Administrative Center, Inc   Payment on Note                        1249-000                 1,974.32                                   547,464.65
 01/02/20     {11}     Transit Administrative Center, Inc   Payment on Promissory Note             1249-000                 1,974.32                                   549,438.97
 02/05/20     {11}     Transit Administrative Center, Inc   Payment on Promissory Note             1249-000                 1,974.32                                   551,413.29
 02/27/20     104      International Sureties, Ltd.         Bond Premium Bond # 016073584          2300-000                                          182.00            551,231.29
                                                            2/1/2020 - 2/1/2021
 02/28/20     {11}     Transit Administrative Center, Inc   Payment on Note.                       1249-000                 1,974.32                                   553,205.61
 03/31/20              Mechanics Bank                       Bank and Technology Services           2600-000                                          442.11            552,763.50
                                                            Fees
 04/20/20     {11}     Transit Administrative Center, Inc   Payment on Note per Settlement         1249-000                 1,974.32                                   554,737.82
 04/30/20              Mechanics Bank                       Bank and Technology Services           2600-000                                          884.46            553,853.36
                                                            Fees
 05/05/20     {5}      The Collins Law Firm Client Trust    Proceeds on Sale of Equipment          1129-000                 5,000.00                                   558,853.36
                       Account                              per Order Dated 4/25/2019 [Dkt.
                                                            No. 1192].
 05/05/20     {11}     Transit Administrative Center, Inc   Payment on Note per Settlement         1249-000                 1,974.32                                   560,827.68
 05/29/20              Mechanics Bank                       Bank and Technology Services           2600-000                                          858.16            559,969.52
                                                            Fees
 06/30/20              Mechanics Bank                       Bank and Technology Services           2600-000                                          946.17            559,023.35
                                                            Fees
 07/22/20              The Collins Law Firm Client Trust    Replacement Check for Proceeds                                  4,967.00                                   563,990.35
                       Account                              on Sale of Equipment per
              {5}      The Collins Law firm Client Trust    Proceeds on Sale of YCA                1129-000
                       Account                              Equipment
                                                                                     $5,000.00
                                                            Stop Payment Fee                       2600-000
                                                                                         -$33.00
 07/22/20     {5}      The Collins Law Firm Client Trust    Deposit Reversal: Proceeds on          1129-000             -5,000.00                                      558,990.35
                       Account                              Sale of Equipment per Order
                                                            Dated 4/25/2019 [Dkt. No. 1192].
 07/31/20              Mechanics Bank                       Bank and Technology Services           2600-000                                          917.16            558,073.19
                                                            Fees
 08/31/20              Mechanics Bank                       Bank and Technology Services           2600-000                                          862.26            557,210.93
                                                            Fees

                                                                                               Page Subtotals:    $428,658.84               $171,281.64



{ } Asset Reference(s)                                                                                                                 ! - transaction has not been cleared
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                                                     Cash Receipts And Disbursements Record
Case No.:                  15-09539                                           Trustee Name:                       Michael Desmond (330623)
Case Name:                 YELLOW CAB AFFILIATION, INC.                       Bank Name:                          Mechanics Bank
Taxpayer ID #:             **-***6889                                         Account #:                          ******0200 Checking
For Period Ending:         06/30/2022                                         Blanket Bond (per case limit):      $5,000,000.00
                                                                              Separate Bond (if applicable):      N/A

    1            2                          3                                         4                                 5                    6                    7

  Trans.    Check or           Paid To / Received From            Description of Transaction        Uniform         Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                                Tran. Code         $                      $

 09/30/20                  Mechanics Bank                     Bank and Technology Services         2600-000                                      950.08           556,260.85
                                                              Fees
 10/30/20                  Mechanics Bank                     Bank and Technology Services         2600-000                                      889.10           555,371.75
                                                              Fees
 11/05/20                  Transfer Debit to East West Bank   Transition Debit to East West Bank   9999-000                                 555,371.75                     0.00
                           acct XXXXXX0049                    acct XXXXXX0049


              Account
                                   Balance Forward                                    0.00
                     17                         Deposits                        98,848.79             4                     Checks                          166,371.32
                       0           Interest Postings                                  0.00           31          Adjustments Out                              18,130.72
                                                Subtotal                        98,848.79             1            Transfers Out                            555,371.75
                       2              Adjustments In                          641,025.00                                      Total                         739,873.79
                       0                Transfers In                                  0.00
                                                   Total                      739,873.79


                                                                                               Page Subtotals:              $0.00                $0.00




{ } Asset Reference(s)                                                                                                              ! - transaction has not been cleared
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                                                 Cash Receipts And Disbursements Record
Case No.:              15-09539                                              Trustee Name:                       Michael Desmond (330623)
Case Name:             YELLOW CAB AFFILIATION, INC.                          Bank Name:                          East West Bank
Taxpayer ID #:         **-***6889                                            Account #:                          ******0049 Checking Account
For Period Ending:     06/30/2022                                            Blanket Bond (per case limit):      $5,000,000.00
                                                                             Separate Bond (if applicable):      N/A

    1            2                      3                                           4                                   5                       6                      7

  Trans.    Check or        Paid To / Received From             Description of Transaction         Uniform         Deposit                Disbursement          Account Balance
   Date      Ref. #                                                                               Tran. Code         $                          $

 11/05/20              Transfer Credit from Mechanics       Transition Credit from Mechanics       9999-000            555,371.75                                      555,371.75
                       Bank Acct XXXXXX0200                 Bank Acct XXXXXX0200
 11/30/20              East West Bank                       Bank and Technology Services           2600-000                                          858.09            554,513.66
                                                            Fees
 12/31/20              East West Bank                       Bank and Technology Services           2600-000                                          975.03            553,538.63
                                                            Fees
 01/13/21     {11}     Transit Administrative Center, Inc   Payment on Promissory Note             1249-000                 1,974.32                                   555,512.95
 01/29/21              East West Bank                       Bank and Technology Services           2600-000                                          859.10            554,653.85
                                                            Fees
 02/03/21     {11}     Transit Administrative Center, Inc   Payment on Note                        1249-000                 1,974.32                                   556,628.17
 02/23/21     {11}     Transit Administrative Center, Inc   Payment on Note                        1249-000                 1,974.32                                   558,602.49
 02/25/21    1000      Figliulo & Silverman PC              Per order Allowing Compensation        3110-000                                    142,735.00              415,867.49
                                                            Dkt. No. 1235
 02/25/21    1001      Figliulo & Silverman, P.C.           Expenses Allowed per Order dated       3120-000                                         4,360.63           411,506.86
                                                            2.25.2021 [Dkt. No. 1235].
 02/26/21              East West Bank                       Bank and Technology Services           2600-000                                          832.23            410,674.63
                                                            Fees
 03/25/21     {11}     Transit Administrative Center, Inc   Payment on Note                        1249-000                 1,974.32                                   412,648.95
 03/25/21    1002      International Sureties, Ltd.         Bond Premium 2/1/21 thru 2/1/22        2300-000                                          229.60            412,419.35
 03/31/21              East West Bank                       Bank and Technology Services           2600-000                                          763.83            411,655.52
                                                            Fees
 04/30/21              East West Bank                       Bank and Technology Services           2600-000                                          659.77            410,995.75
                                                            Fees
 05/12/21     {11}     Transit Administrative Center, Inc   Payment on Note                        1249-000                 1,974.32                                   412,970.07
 05/28/21              East West Bank                       Bank and Technology Services           2600-000                                          616.38            412,353.69
                                                            Fees
 06/14/21     {11}     Transit Administrative Center, Inc   Payment on Note                        1249-000                 1,974.32                                   414,328.01
 06/30/21     {11}     Transit Administrative Center, Inc   Payment on Note                        1249-000                 1,974.32                                   416,302.33
 06/30/21              East West Bank                       Bank and Technology Services           2600-000                                          728.56            415,573.77
                                                            Fees
 07/30/21              East West Bank                       Bank and Technology Services           2600-000                                          665.94            414,907.83
                                                            Fees
 08/18/21     {11}     Transit Administrative Center, Inc   Pyment on Note                         1249-000                 1,974.32                                   416,882.15
 08/25/21     {11}     Transit Administrative Center, Inc   Payment on Note                        1249-000                 1,974.32                                   418,856.47
 08/31/21              East West Bank                       Bank and Technology Services           2600-000                                          711.11            418,145.36
                                                            Fees
 09/24/21     {11}     Transit Administrative Center, Inc   Payment on Note                        1249-000                 1,974.32                                   420,119.68
 09/30/21              East West Bank                       Bank and Technology Services           2600-000                                          670.49            419,449.19
                                                            Fees
 10/25/21     {11}     Transit Administrative Center, Inc   Payment on Note                        1249-000                 1,974.32                                   421,423.51
 10/29/21              East West Bank                       Bank and Technology Services           2600-000                                          650.17            420,773.34
                                                            Fees
 11/29/21     {11}     Transit Administrative Center, Inc   Payment on Note                        1249-000                 1,974.32                                   422,747.66
 11/30/21              East West Bank                       Bank and Technology Services           2600-000                                          719.34            422,028.32
                                                            Fees
 12/31/21              East West Bank                       Bank and Technology Services           2600-000                                          698.94            421,329.38
                                                            Fees
 01/31/22              East West Bank                       Bank and Technology Services           2600-000                                          652.76            420,676.62
                                                            Fees
 02/21/22     {11}     Transit Administrative Center, Inc   Payment on Note                        1249-000                 1,974.32                                   422,650.94

                                                                                               Page Subtotals:    $581,037.91               $158,386.97


{ } Asset Reference(s)                                                                                                                 ! - transaction has not been cleared
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                                                     Cash Receipts And Disbursements Record
Case No.:                  15-09539                                             Trustee Name:                       Michael Desmond (330623)
Case Name:                 YELLOW CAB AFFILIATION, INC.                         Bank Name:                          East West Bank
Taxpayer ID #:             **-***6889                                           Account #:                          ******0049 Checking Account
For Period Ending:         06/30/2022                                           Blanket Bond (per case limit):      $5,000,000.00
                                                                                Separate Bond (if applicable):      N/A

    1            2                          3                                           4                                 5                       6                    7

  Trans.    Check or            Paid To / Received From             Description of Transaction       Uniform          Deposit               Disbursement        Account Balance
   Date      Ref. #                                                                                 Tran. Code          $                         $

 02/21/22     {11}         Transit Administrative Center, Inc   Payment on Note                      1249-000                 1,974.32                                 424,625.26
 02/28/22                  East West Bank                       Bank and Technology Services         2600-000                                         629.98           423,995.28
                                                                Fees
 03/21/22     {11}         Transit Administrative Center, Inc   Payment on Note                      1249-000                 1,974.32                                 425,969.60
 03/30/22    1003          International Sureties, Ltd.         Blanket Bond Premium 2022            2300-000                                         176.58           425,793.02
 03/31/22                  East West Bank                       Bank and Technology Services         2600-000                                         748.52           425,044.50
                                                                Fees
 04/04/22     {11}         Transit Administrative Center, Inc   Payment on Note                      1249-000                 1,974.32                                 427,018.82
 04/25/22     {11}         Transit Administrative Center, Inc   Payment on Note                      1249-000                 1,974.32                                 428,993.14
 04/29/22                  East West Bank                       Bank and Technology Services         2600-000                                         661.48           428,331.66
                                                                Fees
 05/31/22                  East West Bank                       Bank and Technology Services         2600-000                                         663.61           427,668.05
                                                                Fees
 06/30/22                  East West Bank                       Bank and Technology Services         2600-000                                         754.09           426,913.96
                                                                Fees


              Account
                                    Balance Forward                                     0.00
                     17                         Deposits                          33,563.44             4                      Checks                            147,501.81
                       0            Interest Postings                                   0.00           20          Adjustments Out                                 14,519.42
                                                Subtotal                          33,563.44             0            Transfers Out                                         0.00
                       0              Adjustments In                                    0.00                                     Total                           162,021.23
                       1                  Transfers In                          555,371.75
                                                   Total                        588,935.19


                                                                                                 Page Subtotals:          $7,897.28             $3,634.26




{ } Asset Reference(s)                                                                                                                   ! - transaction has not been cleared
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                                       Cash Receipts And Disbursements Record
Case No.:           15-09539                                   Trustee Name:                   Michael Desmond (330623)
Case Name:          YELLOW CAB AFFILIATION, INC.               Bank Name:                      East West Bank
Taxpayer ID #:      **-***6889                                 Account #:                      ******0049 Checking Account
For Period Ending: 06/30/2022                                  Blanket Bond (per case limit): $5,000,000.00
                                                               Separate Bond (if applicable): N/A

                                       Net Receipts:            $768,437.23
                           Plus Gross Adjustments:                   $33.00
                         Less Payments to Debtor:                     $0.00
                 Less Other Noncompensable Items:                     $0.00

                                         Net Estate:            $768,470.23




                                                                                                  NET                     ACCOUNT
                                 TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS                BALANCES
                                 ******0200 Checking                             $734,873.79        $179,502.04                   $0.00

                                 ******0049 Checking Account                      $33,563.44             $162,021.23         $426,913.96

                                                                                 $768,437.23             $341,523.27         $426,913.96
